                Case 1:21-cr-00148-JTN ECF No. 1, PageID.1 Filed 07/28/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Western District
                                                  __________ Districtofof
                                                                        Michigan
                                                                          __________

                  United States of America                            )
                             v.                                       )
                                                                      )    Case No.
                                                                      )               1:21-mj-391
                     Dennis Patrick Reid                              )
                                                                      )
                                                                      )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              May 27, 2021 to the present        in the county of                  Kent           in the
     Western           District of            Michigan          , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C §2422(b)                               Using any facility or means of interstate commerce to knowingly persuade,
                                                induce, entice or coerce a minor to engage in any criminal sexual activity, or
                                                attempting to do so

18 U.S.C §2423(b)                               Traveling in interstate commerce with a motivating purpose of engaging
                                                engaging in any sexual act, as defined in Section 2246, with a person under
                                                18 or attempting to do so


         This criminal complaint is based on these facts:
See attached continuation




         ✔ Continued on the attached sheet.
         u

The Court processed the complaint remotely. The Court
verified the Affiant's identity (by AUSA confirmation and
                                                                                               Complainant’s sig
                                                                                                             signature
through Affiant self-identification). Affiant attested to the
affidavit and complaint via telephone, which the AUSA                                          SA Scott Bauer, HSI
transmitted by remote electronic means (e-mail). The Court
                                                                                                Printed name and title
signed the original complaint and transmitted a correct copy
of same to the Applicant, via the AUSA, by remote electronic
means (e-mail). The process complied with Rules 3 and 4.1.


Date:       July 28, 2021
                                                                                                  Judge’s
                                                                                                  JJu
                                                                                                    udgge’s signature

City and state:       Grand Rapids, Michigan                                                  Sally J. Berens, U.S. Magistrate Judge
                                                                                                Printed name and title
